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               IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA

  ROSE MARIE CARRIER,

               Plaintiff,

  v.                                            Case No. 4:13-cv-00471-JED-PJC

  UNITED SERVICES AUTOMOBILE                     The Honorable John E. Dowdell
  ASSOCIATION; and USAA CASUALTY
  INSURANCE COMPANY,

               Defendants.


                                 ORDER FOR REMAND

        For the reasons set forth in the Joint Stipulation for Remand filed by the Parties

  (Doc. 28), it is hereby ORDERED that this matter is remanded to the Tulsa County

  District Court, State of Oklahoma.

        IT IS SO ORDERED this 24th day of October, 2013.
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  Approved:

   s/ Carin L. Marcussen
  (Signed by Filing Attorney with permission of Plaintiff’s Attorney)
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